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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    Yellow Corporation, et al.                                 Case No. 23-11069 (CTG)

                    Debtors.                                   Jointly Administered

      ORDER GRANTING MOTION OF JIMMIE AND JANEL HUBERT FOR RELIEF
           FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362

             Upon consideration of the Motion of Jimmie and Janel Hubert for Relief from the

Automatic Stay Pursuant to 11 U.S.C. § 362 (the “Motion”), 1 allowing Movants to proceed with

the Wisconsin Action pending in the Wisconsin Circuit Court of La Crosse County, against Debtor

USF Holland, LLC, and the Court having found that notice of the Motion and the hearing on the

Motion was proper under applicable rules of procedure and provided adequate notice of the Motion

and the hearing on the Motion to all parties in interest; and the Court, having found that cause

exists under 11 U.S.C. §362(d) to grant relief from stay as requested by Movant; and the Court

having found that it is in the best interests of the Debtors’ estates to grant relief from stay to allow

the Movants to continue litigation of their claims in the Wisconsin Action for the purposes of

liquidating the amount of such claims and collecting on any judgment entered from any available

insurance proceeds under any applicable liability insurance, it is hereby

             ORDERED that the Motion is GRANTED as set forth herein; and it is further

             ORDERED that the automatic stay of 11 U.S.C. §362(a) is modified to allow Movants to

fully prosecute their claims against Debtor USF Holland, LLC in the Wisconsin Action to

conclusion, including through final judgment and any and all appeals therefrom; and it is further




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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           ORDERED that, subject to further modification of the automatic stay by this Court, the

Movants shall be entitled to seek recovery solely against the proceeds of any applicable liability

insurance policy; and it is further

           ORDERED that this Order shall be effective immediately upon entry by the Court; and it

is further

           ORDERED that the automatic 14-day stay provided by Federal Rule of Bankruptcy

Procedure 4001(a)(3) is hereby waived upon entry of this Order.




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